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         EXHIBIT 13
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           IN THE UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION
RILEY GAINES, et al.             )
                                 )
                     Plaintiffs, )
                                 )
    v.                           ) Case No. 1:24-cv-01109-MHC
                                 )
NATIONAL COLLEGIATE              )
ATHLETIC ASSOCIATION, et al. )
                                 )
                     Defendants. )
       DECLARATION OF CONCERNED WOMEN FOR AMERICA

      I, Doreen Denny, make the following declaration:

      1.     I am a Senior Advisor for Concerned Women for America (CWA), a

resident of the United States over the age of eighteen, and I am competent to testify

and have personal knowledge of the facts stated in this declaration.

      2.     CWA is a grassroots women’s organization with more than half a

million members in all fifty states, and thousands in the state of Georgia. Through

its grassroots organization, CWA encourages policies that strengthen and protect

women and families and advocates for the traditional virtues that are central to

America’s cultural health and welfare.

      3.     CWA has Young Women for America (YWA) chapters in colleges

and universities around the country with 293 leaders committed to protecting

women’s dignity in all areas, including sports. In the state of Georgia, we have a
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strong chapter at the Georgia Institute of Technology and eleven YWA

ambassadors.

      4.     As a women’s organization, CWA has an interest in working against

nullification of women’s sports and protecting female athletes from the injustice of

competing against biological males.

      5.     In 2020, the Department of Education’s Office of Civil Rights agreed

with CWA’s complaint against a university’s transgender participation and

inclusion policy, finding that the school violated Title IX equal opportunity

protections for female athletes and requiring the school to rescind its policy.1

      6.     For these reasons, among many others, we have great interest in the

matter currently before this honorable court in Gaines, et al. v. NCAA, et al., No.

1:24-cv-01109-MHC.

      7.     Due to our strong interest in this case, CWA has become aware of the

Motion to Intervene filed by the National Women’s Law Center (NWLC) on May

6th, 2024, with its accompanying memorandum of law (NWLC Memorandum).

      8.     The NWLC Memorandum states NWLC supports trans-identifying

males competing in women’s sports “as a matter of both civil rights law and of

human rights.” It also states: “NWLC is not alone. The overwhelming majority of



1
 See Doreen Denny, “CWA’s Victory in Transgender Sports Case a Win for Women’s Rights,”
CWA, Oct. 20, 2020, available at https://bit.ly/3RXzllO.

                                           2
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women’s rights and gender justice organizations share the view that the inclusion

of women and girls who are transgender in sports advances the goal of equal

opportunity for women and girls to benefit from athletic participation.” NWLC

Memorandum, ECF No. 36-1, p. 10 of 32.

       9.     CWA strongly disagrees with many of the factual assertions in the

foregoing statement by NWLC, for example:

              •       An overwhelming majority of women reject men competing in
                      women’s sports and male access to female safe spaces.

              •       A recent GALLUP report found that nearly 70% of women
                      believe athletes should only compete on teams that match their
                      birth gender.2

              •       Allowing men who self-identify as women to take women’s
                      spots in sports competitions is regressive and harmful to
                      women.

              •       Due to the extensive, innate physiological differences between
                      women and men, which begin at the earliest stages of human
                      development, single-sex sports are necessary for women and
                      girls to compete safely and fairly and to realize the myriad
                      benefits of their athletic participation.

              •       Policies that allow self-identification for sex categories in
                      sports in fact violate women’s civil rights as they
                      unquestionably have a disparate impact on women, given the
                      clear biological differences between the sexes.3

2
  Jeffrey M. Jones, “More Say Birth Gender Should Dictate Sports Participation,” GALLUP
(June 12, 2023), available at https://news.gallup.com/poll/507023/say-birth-gender-dictate-
sports-participation.aspx.
3
  Thibault, V., Guillaume, M., Berthelot, G., Helou, N. E., Schaal, K., Quinquis, L., Nassif, H.,
Tafflet, M., Escolano, S., Hermine, O., & Toussaint, J. F. (2010). Women and Men in Sport
Performance: The Gender Gap has not Evolved since 1983. Journal of sports science &
medicine, 9(2), 214–223; Institute of Medicine (US) Committee on Understanding the Biology of

                                               3
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              •       Women lose under the types of discriminatory practices that
                      force them to compete against males, and the U.S. Supreme
                      Court has long recognized such disparate impact to establish a
                      prima facie case of discrimination. 4

              •       As Justice Ruth Bader Ginsburg recognized in United States v.
                      Virginia, 518 U.S. 515, 533 (1996), “Physical differences
                      between men and women, however, are enduring…” and the
                      disparate discriminatory (or negative) impact on the benefits
                      available to female athletes is palpable based on that genetic
                      reality.5

              •       To allow such a discriminatory policy to continue is to say that
                      an educational institution could have an all-biological male
                      swimming or even wrestling or boxing team, both in the men's
                      and women's categories of competition, while remaining in full
                      compliance with federal law, potentially eliminating all
                      opportunities for female athletes in a program. Any
                      interpretation of federal law facilitating such a result is
                      anathema to Title IX.

              •       Ensuring equal opportunity for trans-identified athletes cannot
                      come at the expense of women’s rights, dignity and safety,
                      through the blatant distortion of civil rights law.

              •       As for the human rights angle, all major human rights
                      instruments acknowledge sex in biological terms and do not
                      include trans-identifying males in the category of women.




Sex and Gender Differences; Wizemann TM, Pardue ML, editors. Exploring the Biological
Contributions to Human Health: Does Sex Matter? Washington (DC): National Academies Press
(US); 2001. 2, Every Cell Has a Sex. Available from:
https://www.ncbi.nlm.nih.gov/books/NBK222291/.
4
  See Dothard v. Rawlinson, 433 U.S. 321, (1977).
5
  See Thibault, Valérie et al. Women and Men in Sport Performance: The Gender Gap has not
Evolved since 1983, Journal of sports science & medicine, vol. 9,2 214-23. 1 Jun. 2010; Institute
of Medicine (US) Committee on Understanding the Biology of Sex and Gender Differences,
Wizemann TM, Pardue ML, editors, Exploring the Biological Contributions to Human Health:
Does Sex Matter? Washington (DC): National Academies Press (US); 2001. 2, 2, Every Cell Has
a Sex https://www.ncbi.nlm.nih.gov/books/NBK222291/.

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             •        To allow for such an erasure of women in reporting is
                      extremely trouble because it will skew important data in crucial
                      areas like violent crimes and victims’ safety.

             •        The United Nations Special Rapporteur on violence against
                      women and girls has said that an interpretation of Title IX that
                      requires trans-identifying males to have access to women’s
                      sports teams is contrary to the obligations the U.S. Government
                      has under international human rights agreements and would
                      lead to discrimination and serious harms to women and girls.

      10. CWA Young Women for America leader and college scholarshipped

volleyball athlete Macy Petty testified before the Tennessee House Education

Administration Committee about the disparate impact of policies allowing males in

her specific sport.

      Through my time playing club volleyball, I have had the chance to
      play my sport against boys. My volleyball club had a men’s league,
      and some clubs let men play on their women’s teams. In the rules of
      volleyball, the standard men’s net is seven inches higher than a
      women’s net because of their natural biological ability to jump higher.
      This obviously made it extremely difficult for us when trying to play
      on their net. When the boys would come to play with us, I would
      cover my head, scared of them giving me a concussion. It became
      very obvious to me why we played on separate height nets. Not only
      could they jump higher, but they were also stronger and, on average,
      much taller.6

      11. NWLC argues “[p]olicies excluding women and girls who are

transgender from school sports harm not only those women and girls, but threatens

all women and girls who excel in athletics, as well as all who depart from gender


6
 Macy Petty, Statement Before the Tennessee House Education Administration Committee
Hearing on H.B. 2316 (March 16, 2022), https://concernedwomen.org/wp-
content/uploads/2022/03/TN-Testimony-Macy-Petty.pdf.

                                            5
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stereotypes.” NWLC Memorandum, ECF No. 36-1, p. 11 of 32; see also p. 12

(“Categorical bans”).

      12. The foregoing claim by NWLC is not supported by evidence. Biology

is not bigotry. To say rules that protect women’s places and spaces are “excluding

… from school sports” or “bans,” is misleading.

      13. If Title IX does not protect a female athlete from being exposed to a

naked male against her consent or having to deal with such distress as she is trying

to compete at the highest levels of her sport, it is worthless.


      14. U.S. Secretary of Education Miguel Cardona had to admit as much in a

hearing before the U.S. House of Representative’s Education and Workforce

Committee on May 16, 2023. Rep. Erin Houchin (R-Indiana) asked Secretary

Cardona about sexual harassment under Title IX:


      Houchin: Do you believe that requiring those women to undress in front of
      Lia Thomas and allowing Lia Thomas to undress in front of female athletes
      constitutes sexual harassment, yes or no?

      Cardona: I don't believe students should, be, feel unsafe in any locker
      room.

      Houchin: Do you believe that it constitutes sexual harassment to force
      women to undress in front of biological males?




                                           6
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       Cardona: I do believe forcing, uh, forcing women to undress in front of
       biological males is a concern and sexual … yes. 7

       15. Secretary Cardona struggled through the exchange, but he was forced

to admit the obvious. This is the very essence of Title IX. The men’s team does not

have to deal with feeling unsafe in their own locker room. Why is this tolerated in

the case of female athletes?


       16. NWLC cannot reasonably defend the NCAA policy because it argues

that a rule that requires one year of gender-affirming hormone therapy would be

reinforcing pernicious sex stereotypes. All such rules are acknowledgements of

biological reality and are ultimately arbitrary and capricious, when the scientific

differences between males and females are ultimately repudiated.

       17. They object to “inappropriate policing of students’ bodies,” NWLC

Memorandum, ECF No. 36-1, pp. 11 of 32, though there is no evidence of harm to

women for a simple and discrete DNA check swab or reliance upon birth records,

for example. Sex verification can be easily accomplished in private and has been

done for years without the sort of harms or difficulty that NWLC claims.

       18. In a bizarre twist, NWLC claims that “[b]lack and brown women and

girls who play school sports are at a particularly high risk of harm under these



7
  Committee on Education & the Workforce Hearing, Examining the Policies and Priorities of
the Department of Education, May 16, 2023, at
https://edworkforce.house.gov/calendar/eventsingle.aspx?EventID=409132.

                                             7
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policies, because Black and brown women are often viewed as ‘nonconforming’

with white-centric stereotypes of femininity.” NWLC Memorandum, ECF No. 36-

1, pp. 11-12 of 32.

       19. The foregoing claim by NWLC is unsupported by any reliable

evidence. There is no evidence to support it, and it is irresponsible and offensive to

the many minority women CWA represents.

       20. Just like NWLC, CWA regularly advocates on behalf of women’s

rights in the legal and cultural debate on Title IX, testifies before Congress, and

seeks to influence the NCAA, the U.S. Department of Education and other

regulatory bodies. 8

       21. The NWLC has no more expertise, commitment to women, or

involvement on issues pertaining to women in sports than CWA does, and there is

no reason to prefer NWLC as an advocacy organization or resource on women’s

issues over CWA.




8
 Some examples include, “CWA Files Civil Rights Complaint Against UPenn” at
https://concernedwomen.org/cwa-files-civil-rights-complaint-filed-against-upenn/; “Women’s
Organizations Demand Letter to Charlie Baker and the NCAA,” at
https://concernedwomen.org/wp-content/uploads/2024/01/women-organizations-
NCAA_Demand-Letter.pdf; “CWA Stands Up for Women in Title IX Meeting with Biden
Administration Officials,” at https://concernedwomen.org/cwa-stands-up-for-women-in-title-ix-
meeting-with-biden-administration-officials/; House Subcommittee Hearing on Protecting
Female Athletes and Title IX,” at https://concernedwomen.org/house-subcommittee-hearing-on-
protecting-female-athletes-and-title-ix/; “New Evidence in Civil Rights Complaint Against
UPenn,” at https://concernedwomen.org/new-evidence-in-civil-rights-complaint-against-upenn/.

                                              8
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      22. While the NWLC claims to have a “defense” that shares common

questions of law or fact with the NCAA, this is not accurate. The NWLC can no

more be a defendant in this Title IX case to the claims being made by the Plaintiffs

than our organization can be. We do not receive federal funding and so like the

NWLC are not covered by Title IX.

      23. In the event that the NWLC were to be granted leave to intervene in

this case, it is likely that our organization would also be interested in intervening in

this case as a party. We have not done so, understanding that without actually

having a claim or defense potentially affected by the case, we could not properly

do so, and amicus filings would more properly allow each advocate organization to

make their views heard before this honorable court.

      24. The NWLC states it “has a substantial and longstanding interest in

advocating for the equality of women and girls – including in athletics and access

to sex-separated facilities …[and] a strong interest in the proper interpretation of

Title IX and the Equal Protection Clause on these topics.” NWLC Memorandum,

ECF No. 36-1, p. 23 of 32. We, too, have these same interests.

      25. The NWLC does not adequately represent our interests or the interests

of the hundreds of thousands of women and girls we represent. We raise the points

made in this declaration for the benefit of the Court in considering the NWLC’s

Motion and because, for the reasons explained above:


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            a.     The NWLC’s claims in its submission are in numerous respects
                   inaccurate and highly contested; and

            b.     It would not be fair or just to allow one “women’s rights”
                   organization to intervene as a party in this case when there is a
                   broad spectrum of women’s rights organizations which are
                   equally interested in this important case.
      26.   Thank you for considering this testimony from Doreen Denny.

      I declare under the penalties of perjury under the laws of the United States of

America that the foregoing representations are true and correct.

   Executed on June 14, 2024.


                                       /s/ Doreen Denny
                                       Doreen Denny




                                         10
